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 1   DAVID A. TORRES AND ASSOCIATES
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 5   Attorney for:
     CANDANCE SHANTEL GONZALES
 6

 7                          IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                  ) Case No.: 12-CR-00213 AWI BAM
10   UNITED STATES OF AMERICA,                    )
                                                  ) STIPULATION AND ORDER TO
11                 Plaintiff,                     ) CONTINUE SENTENCING HEARING
                                                  )
12          vs.                                   )
                                                  )
13   CANDACE SHANTEL GONZALES,                    )
                                                  )
14                 Defendant                      )
15   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
16   ANTHONY W. ISHII AND HENRY Z. CARBAJAL, ASSISTANT UNITED STATES
17   ATTORNEY:
18          COMES NOW Defendant, CANDANCE SHANTEL GONZALES, by and through her
19   attorney of record, DAVID A. TORRES hereby requesting that the sentencing hearing currently
20   set for Tuesday, January 19, 2016 be continued to Monday, March 21, 2016.
21          Ms. Gonzales has been asked to debrief regarding other individuals who have possible
22   engaged in mortgage fraud. Assisting the Government will militate favorably towards a 5k
23   reduction. I have spoken to AUSA Henry Carbajal, and he has no objection to continuing the
24   sentencing hearing.
25




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 1          The parties also agree the delays resulting from the continuance shall be excluded in the

 2   interest of justice pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).

 3   //

 4   //

 5           IT IS SO STIPULATED.

 6                                                               Respectfully Submitted,

 7   DATED: 1/13/16                                              /s/ David A Torres     ___
                                                                 DAVID A. TORRES
 8                                                               Attorney for Defendant
                                                                 CANDACE GONZALES
 9

10
     DATED:1/13/16                                               /s/Henry Z. Carbajal_ ________
11                                                               HENRY Z. CARBAJAL
                                                                 Assistant U.S. Attorney
12

13
                                                ORDER
14

15
            IT IS SO ORDERED that the sentencing hearing be continued to March 21, 2016 at
16
     10:00am in courtroom 2 on the 8th floor.
17

18   IT IS SO ORDERED.

19   Dated: January 13, 2016
                                                SENIOR DISTRICT JUDGE
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